                 IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF NORTH CAROLINA

  RICKEY KIMBRIEL and PAULA
  KIMBRIEL, on behalf of themselves
  and all others similarly situated,
                                                     Case No. 5:19-cv-00215
                        Plaintiffs,
                                                     CLASS ACTION COMPLAINT
  v.
                                                     JURY DEMANDED

  ABB INC., and BALDOR
  ELECTRIC COMPANY N/K/A ABB
  MOTORS AND MECHANICAL
  INC.,

                        Defendants.

                                CLASS ACTION COMPLAINT

       Plaintiffs Rickey and Paula Kimbriel (“Plaintiffs”), individually and on behalf of the

class set forth below, bring the following class action complaint against defendants ABB, Inc.

(“ABB”) and Baldor Electric Company N/K/A ABB Motors and Mechanical, Inc. (“Baldor”)

(collectively, “Defendants”):

                                PRELIMINARY STATEMENT

       1.      This case is about a substantial data security breach, affecting nearly 18,000

employees and their family members who are participants in the ABB health benefits plan (the

“Plan”).

       2.      As a result of this breach, Plaintiffs and the class members whose personal

information was not safeguarded have suffered identity theft and have been forced to expend

substantial time and money to protect themselves from the substantial risk of further injury from

identity theft, credit and reputational injury, false tax claims, or even extortion they now face.




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       3.      Prior to August 25, 2017, hackers, utilizing a well-known “phishing” or scam

email scheme, compromised Plan accounts containing participants’ personally identifying

information (“PII”). This PII included sensitive information such as names, addresses, plan

member IDs, birth dates, social security numbers, FMLA information, and direct deposit

information.

       4.      ABB did not publicly acknowledge the data breach or begin notifying the Plan

participants until on or after September 7, 2017.

       5.      According to its Form 5500 filed with the United States Department of Labor,

there were approximately 17,996 active participants in the Plan as of the end of 2016. All of

those 17,996 Plan participants had their PII compromised by the data breach.

       6.      The data security breach was caused by ABB’s knowing violation of its obligation

to secure its employees’ and their family members’ personal information.

       7.      ABB failed to comply with security standards and allowed the Plan participants’

PII to be compromised.

       8.      As a consequence of the data security breach, Plaintiffs and Class Members have

suffered damages by taking measures to deter, detect, and stop identity theft. Class Members

have been required to take the time, which they otherwise would have dedicated to other life

demands (such as work), and effort to mitigate the actual and potential impact of the data breach

on their lives including, inter alia; placing “freezes” and “alerts” with credit reporting agencies,

contacting their financial institutions, closing or modifying financial accounts, scheduling and

attending appointments with the IRS, closely reviewing and monitoring their credit reports and

accounts for unauthorized activity, responding to unauthorized activity on their credit reports,

contacting the Social Security office, and filing police reports.




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       9.      No one can know what else the cyber criminals will do with the employees’ PII.

However, what is known is that the purpose of the phishing scheme was to obtain participants’

PII. ABB employees and their family members are now, and for the rest of their lives will be, at

a heightened risk of further identity theft and fraud. For all Class Members, fear and anxiety of

identity theft or fraud is the new norm.

       10.     Plaintiffs seek redress individually, and on behalf of those similarly situated, for

the injuries that they and class members sustained as a result of ABB’s negligent and intentional

violations of law.

       11.     Plaintiffs assert these claims on behalf of a nationwide class of participants in the

Plan for monetary relief, injunctive relief, corresponding declaratory relief, and other appropriate

relief for ABB’s unlawful conduct, as described herein.

                                            PARTIES

       12.     Plaintiffs are Arkansas citizens residing in Franklin County, Arkansas. Plaintiff

Rickey Kimbriel works for Baldor Electric Company in Ozark, Arkansas, which, beginning

March 1, 2018, changed its name to ABB Motors and Mechanical Inc. He has been a participant

in the Plan since at least 2015. Plaintiff Paula Kimbriel is Rickey Kimbriel’s spouse, his

dependent, and has been a beneficiary covered by the Plan since at least 2015.

       13.     Defendant ABB, Inc. (“ABB”) is an industrial technologies company

incorporated in Delaware, with its principal place of business in Cary, North Carolina. ABB may

be served with process upon its registered agent C T Corporation System, 160 Mine Lake Court,

Suite 200, Raleigh, North Carolina.

       14.     Defendant Baldor Electric Company n/k/a ABB Motors and Mechanical Inc.

(“Baldor”) is a Missouri corporation, with its principal place of business in Fort Smith, Arkansas.



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ABB Motors and Mechanical Inc. may be served with process upon its registered agent CT

Corporation System, 120 South Central Avenue, Clayton, MO 63105.

        15.      Collectively, ABB and Baldor will be referred to herein as “ABB” or

“Defendants.”

        16.      Upon information and belief, ABB’s wrongful acts and omissions leading to this

data security breach occurred nationwide and in this district.

                                  JURISDICTION AND VENUE

        17.      This Court has subject matter jurisdiction over this action under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million exclusive of

interest and costs. Plaintiff, the class members, and ABB are citizens of different states. There

are more than 100 putative class members.

        18.      This court has personal jurisdiction over ABB because Plaintiffs’ claims arise out

of ABB’s contacts with North Carolina.

        19.      Venue is proper in this court pursuant to 28 U.S.C. § 1391(b), (c), and (d). ABB is

registered to do business, transacted business, were founded in, and had agents in this district; a

substantial part of the events giving rise to the Plaintiffs’ claims arose in this district, and a

substantial portion of the affected interstate commerce described below has been carried out in

this district.

                                   ALLEGATIONS OF FACT

        20.      Plaintiff Rickey Kimbriel has worked as a machine operator at Baldor’s facility in

Ozark, Arkansas since 2015.

        21.      At all relevant times, Baldor was a subsidiary of ABB.




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          22.     Baldor’s employee handbook received by Plaintiff makes the following pledges to

its employees:

          a)      The Company’s code of ethics is “I will not lie, cheat, steal, nor tolerate those

who do.”

          b)      The Company “work[s] hard every day to be the safest place to work.”

          c)      The Company “will attempt to keep you fully informed about matters that affect

you” and “will be honest in [its] communications and dealings with you”

          d)      The Company “will do what is right.”

          e)      The Company believes [i]t is important to have current and correct information

about you. We need the information for Social Security, withholding taxes, insurance, and

emergencies.”

          23.     Plaintiff Rickey Kimbriel was a participant in the Plan at all relevant times. The

Plan includes health care coverage, short term disability, long term disability, life insurance, and

401(k).

          24.     Plaintiff Rickey Kimbriel gave ABB information with respect to his checking

account at the Bank of the Ozarks for the purpose of direct deposit of his paycheck.

          25.     When Plaintiff Rickey Kimbriel enrolled in the Plan, he provided sensitive

personal information about himself and his dependent Paula Kimbriel, including full legal

names, addresses, birth dates, and social security numbers.

          26.     Upon information and belief, this information was entered into the Plan’s

database under Plaintiff Rickey Kimbriel’s account, which ABB and Baldor stored and

maintained in electronic form along with other information pertinent to Plaintiff Rickey

Kimbriel’s employee benefits, such as plan member ID.




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         27.    Upon information and belief, the same sensitive personal information regarding

Plaintiff Rickey Kimbriel’s account maintained and accessible in the Plan’s database was

maintained and/or accessible through certain ABB employee email accounts.

         28.    The Company called a meeting near the end of August, 2017 to inform Plaintiff

Rickey Kimbriel and other employees on his shift that there had been a breach of their data, and

that they would follow up with more information in the near future. In that same meeting, the

Company informed the employees it would provide at least one year of credit monitoring.

         29.    Nearly two weeks later in September 2017, Plaintiff Rickey Kimbriel received a

letter from the Head of Human Resources at ABB, Dorothea Klein, to his home address dated

September 7, 2017 titled “Notice of Data Breach.” (Attached as Exhibit A). The letter stated

that Plaintiff Rickey Kimbriel and his dependents’ sensitive personally identifying information

(“PII”) associated with the Plan’s benefits may have been exposed as a result of a phishing

scheme on ABB employee email accounts. The letter identified that the compromised accounts

may have specifically exposed names, addresses, plan member IDs, birth dates, and social

security numbers. The letter also represented that before notifying Plaintiff Rickey Kimbriel,

ABB had already conducted a “full assessment to determine the scope of the data exposed and

identify any potentially affected individuals.”

         30.    According to the Federal Trade Commission (“FTC”), “phishing” is when a

scammer uses fraudulent emails or texts, or copycat websites to get someone to share valuable

personal information, “such as account numbers, social security numbers, or your login IDs and

passwords,” and then uses this information to steal money or identity or both.1              By

acknowledging that Plaintiff Rickey Kimbriel’s personal information was exposed as the result

of a “phishing scheme,” ABB has acknowledged that the data thief intentionally targeted
1
    https://www.consumer.ftc.gov/articles/how-recognize-and-avoid-phishing-scams

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Plaintiff Rickey Kimbriel and class members’ personal information which was compromised in

the ABB data breach.

       31.     The FTC defines identity theft as “a fraud committed or attempted using the

identifying information of another person without authority.”2 The FTC describes “identifying

information” as “any name or number that may be used, alone or in conjunction with any other

information, to identify a specific person,” including, among other things, “[n]ame, Social

Security number, date of birth, official State or government issued driver’s license or

identification number, alien registration number, government passport number, employer or

taxpayer identification number.”3

       32.     Social Security numbers, for example, are among the worst kind of personal

information to have stolen because they may be put to a variety of fraudulent uses and are

difficult for an individual to change.

       33.     The Social Security Administration has warned that identity thieves can use an

individual’s Social Security number to apply for additional credit lines. Such fraud may go

undetected until debt collection calls commence months, or even years, later.4

       34.     Stolen Social Security numbers also make it possible for thieves to file fraudulent

tax returns, file for unemployment benefits, or apply for a job using a false identity. Each of

these fraudulent activities is difficult to detect. An individual may not know that his or her Social

Security number was used to file for unemployment benefits until law enforcement notifies the

individual’s employer of the suspected fraud. Fraudulent tax returns are typically discovered

only when an individual’s authentic tax return is rejected. What is more, it is no easy task to

2
  17 C.F.R. § 248.201 (2013).
3
  Id.
4
  Social Security Administration, Identity Theft and Your Social Security Number, available at
http://www.ssa.gov/pubs/EN-05-10064.pdf (last visited May 20, 2019).

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change or cancel a stolen Social Security number. An individual cannot obtain a new Social

Security number without significant paperwork and evidence of actual misuse. In other words,

preventive action to defend against the possibility of misuse of a Social Security Number is not

permitted; an individual must show evidence of actual, ongoing fraud activity to obtain a new

number.

       35.     Even then, a new Social Security number may not be effective. According to Julie

Ferguson of the Identity Theft Resource Center: “The credit bureaus and banks are able to link

the new number very quickly to the old number, so all of that old bad information is quickly

inherited into the new Social Security number.”5

       36.     Based on the foregoing, the information stolen in the data breach is significantly

more valuable than the loss of, say, credit card information in a large retailer data breach such as

those that occurred at Target and Home Depot. Victims affected by those retailer breaches could

avoid much of the potential future harm by cancelling credit or debit cards and obtaining

replacements. The information stolen in the data breach is difficult, if not impossible, to

change—Social Security number, name, employment information, income data, etc.

       37.     This data, as one would expect, demands a much higher price on the black

market. Martin Walter, senior director at cybersecurity firm RedSeal, explained, “Compared to

credit card information, personally identifiable information and Social Security numbers are

worth more than 10x on the black market.”6



5
  Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR, Brian Naylor,
Feb. 9, 2015, available at http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-
hackershas-millions-worrying-about-identity-theft (last visited May 20, 2019).
6
  Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT
World, Tim Greene, Feb. 6, 2015, available at
https://www.networkworld.com/article/2880366/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last visited May 20, 2019).

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         38.   Among other forms of fraud, identity thieves may obtain driver’s licenses,

government benefits, medical services, and housing or even give false information to police

during an arrest.

         39.   The fraudulent activity resulting from the data breach may not come to light for

years.

         40.   In the “Notice of Data Breach,” ABB also represented that it would pay for

Plaintiff and Class Members to have one (1) year of identity monitoring services provided by

risk mitigation and response entity Kroll. The letter further advised Plaintiff as to additional

steps he should take to protect himself, including placing a fraud alert with the Federal Trade

Commission and placing a security freeze on his credit file. However, the letter said nothing

about offering any relief like identity theft monitoring services to Plaintiff Paula Kimbriel or

other similarly affected dependents.

         41.   In November 2017, specifically in response to the breach for fear that his

information would be further compromised, Plaintiff Rickey Kimbriel stopped making his two

percent (2%) deferrals to his 401(k). But for the data breach, Plaintiff Rickey Kimbriel would

have made those deferrals. As a consequence, he was taxed on income that he otherwise would

have invested tax-deferred, and therefore has suffered and will continue to suffer actual

economic loss as a consequence.

         42.   Plaintiffs’ fear of identity theft resulting from their compromised information has

already proven well grounded. Plaintiff Paula Kimbriel was notified by a credit-monitoring

service that on February 13, 2019, there were five unauthorized credit inquires with banking

institutions in four different states, indicating identity theft. In response, Plaintiffs have spent




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significant time to begin the process to dispute the identity theft. This has only increased

Plaintiffs’ fears and time spent as a result of the data breach.

        43.      ABB has failed to provide compensation to Plaintiffs and Class Members

victimized in this data breach. ABB has not offered to provide any assistance or compensation

for the costs and burdens – current and future – associated with the identity theft and fraud

resulting from the data breach. ABB has not offered Plaintiffs or Class Members any assistance

in dealing with the IRS or state tax agencies.

        44.      It is incorrect to assume that reimbursing a consumer for financial loss due to

fraud makes that individual whole again. On the contrary, after conducting a study, the U.S.

Department of Justice’s Bureau of Justice Statistics found that “among victims who had personal

information used for fraudulent purposes, 29% spent a month or more resolving problems” and

that “resolving the problems caused by identity theft [could] take more than a year for some

victims.”7

        45.      As a result of ABB’s failure to prevent the data breach, Plaintiffs Rickey and

Paula Kimbriel and Class Members have suffered and will continue to suffer damages, including

monetary losses, lost time, anxiety and emotional distress. They have suffered or are at increased

risk of suffering:

        a.       The loss of the opportunity to control how their PII is used;

        b.       The diminution in value of their PII;

        c.       The compromise, publication and/or theft of their PII;

        d.       Out-of-pocket costs associated with the prevention, detection, recovery and

remediation from identity theft or fraud;

7
 Victims of Identity Theft, 2012 (Dec. 2013) at 10, 11, available at
https://www.bjs.gov/content/pub/pdf/vit12.pdf (last visited May 20, 2019).

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       e.       Lost opportunity costs and lost wages associated with effort expended and the loss

of productivity from addressing and attempting to mitigate the actual and future consequences of

the data breach, including but not limited to efforts spent researching how to prevent, detect,

contest and recover from identity theft and fraud;

       f.       Delay in receipt of tax refund monies;

       g.       Unauthorized use of stolen PII;

       h.       The continued risk to their PII, which remains in the possession of ABB and is

subject to further breaches so long as ABB fail to undertake appropriate measures to protect the

PII in their possession; and

       i.       Current and future costs in terms of time, effort and money that will be expended

to prevent, detect, contest, remediate and repair the impact of the data breach for the remainder

of the livers of Plaintiff and Class Members.

                               CLASS ACTION ALLEGATIONS

       46.      Plaintiffs and the class members, as defined below, have been damaged by ABB’s

negligent or reckless disregard for their personal information, as well as ABB’s intentional

silence regarding the existence and nature of the data security breach.

       47.      Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

       48.      Plaintiffs assert the claims herein on behalf of a proposed Nationwide Class

(“the Class”) defined as follows:

         All United States residents whose information was made accessible to an unauthorized
        third party in the data security breach announced by ABB on September 7, 2017.8
8
  The following are excluded from the Nationwide Class: (1) the defendants, their parent
companies, subsidiaries and affiliates, and any co-conspirators; and (2) any judge or magistrate
presiding over this action, and members of their families. The Plaintiffs reserve the right to
amend the class period and/or class definition if discovery and further investigation reveal that

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          49.      Numerosity. The members of the class are so numerous that joinder of all class

members is impracticable. Nearly 18,000 Plan participants are affected by the data security

breach.

          50.      Typicality. Plaintiffs’ claims are typical of other class members because, among

other things, all class members’ PII was exposed to an unauthorized third party by ABB’s

negligent, reckless, and intentional conduct, as described above, which caused the data security

breach.

          51.      Adequacy. Plaintiffs will fairly and adequately protect the interests of the class.

Furthermore, they have retained counsel experienced in class actions and complex litigation.

          52.      Commonality and Predominance. Common questions of law and fact exist as to

all class members and predominate over any questions solely affecting individual members of

the class, including but not limited to:

          a)       whether ABB owed duties under federal or state law to class members to protect

their personal information, provide timely notice of unauthorized access to this information, and

provide meaningful and fair redress;

          b)       whether ABB breached said duties;

          c)       whether ABB acted wrongfully by improperly monitoring, storing, and/or failing

to properly safeguard the class members’ personal information;

          d)       whether ABB knew, or reasonably should have known, about the deficiencies in

its data security protocols;

          e)       whether ABB willfully failed to design, employ, and maintain adequate security

safeguards to protect employees’ personal information;

the class should be expanded, divided into additional subclasses, or modified in any way.

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         f)       whether ABB’s representations regarding the security of its systems were false

and misleading;

         g)       whether ABB’s acts and omissions violated applicable state consumer protection

law;

         h)       whether ABB’s failures resulted in the data security breach at issue;

         i)       whether ABB failed to properly and timely notify Plaintiffs and class members of

the breach as soon as practicable after it was discovered;

         j)       whether ABB’s acts of concealment violated applicable state consumer protection

laws; and

         k)       whether class members have been damaged and, if so, the appropriate relief.

         53.      Superiority. Consistent with Rule 23(b)(3), a class action is superior to any other

available means for the fair and efficient adjudication of this controversy, and no unusual

difficulties are likely to be encountered in the management of this class action. The present

litigation involves a textbook example of the superior quality of a class action mechanism to

resolve millions of claims in a single litigation that may otherwise be uneconomical to pursue in

individual litigation. The burden and expense of litigating the present case in an individual

capacity is comparatively high compared to the individual recovery of any individual Plaintiff or

putative class member. Without the Rule 23 class mechanism, Plaintiffs and the Class would be

without a practical path to remedy defendants’ wrongful conduct.

         54.      This case is maintainable as a class action under Fed. R. Civ. P. 23(b)(2) because

the defendants have acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole.



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       55.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

questions of law and fact common to the class predominate over any questions affecting only

individual members of the class, and because a class action is superior to other available methods

for the fair and efficient adjudication of this controversy.

       56.     ABB’s conduct as described in this complaint stems from common and uniform

policies and practices, resulting in a colossal data security breach as well as a deliberate and

systematic cover-up scheme to hide the extent and nature of the breach from regulators as well as

those affected by the breach.

       57.     The class members do not have an interest in pursuing separate individual actions

against ABB, as the amount of each class member’s individual claims are small compared to the

expense and burden of individual prosecution.

       58.     Class certification also will obviate the need for unduly duplicative litigation that

might result in inconsistent judgments concerning ABB’s practices. Moreover, management of

this action as a class action will not present any likely difficulties. In the interests of justice and

judicial efficiency, it would be desirable to concentrate the litigation of all class members’ claims

in a single forum.

       59.     Plaintiffs intend to send notice to all class members to the extent required by Rule

23.

                                     CLAIMS FOR RELIEF

      COUNT I – VIOLATION OF NORTH CAROLINA UNFAIR OR FRAUDULENT
                             BUSINESS PRACTICES
                        (On behalf of the Nationwide Class)

       60.     Plaintiffs, on behalf of the Nationwide Class, allege and incorporate by reference

the allegations in the preceding paragraphs.



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       61.     ABB, as a North Carolina based entity, is subject to the laws and regulations of

the State of North Carolina, including but not limited to the North Carolina Unfair & Deceptive

Trade Practices Act, N.C. Gen. Stat. § 75-1.1 (“North Carolina UDTPA”). The North Carolina

UDTPA “declare[s] unlawful” all “[u]nfair methods of competition in or affecting commerce,

and unfair or deceptive acts or practices in or affecting commerce.” Id. § 75-1.1(a).

       62.     For purposes of North Carolina UDTPA, the term “‘commerce’ includes all

business activities, however denominated, but does not include professional services rendered by

a member of a learned profession.” Id. § 75-1.1(b).

       63.     ABB violated the North Carolina UDTPA by engaging in unlawful, unfair, or

deceptive business acts and practices in or affecting commerce, as well as unfair, deceptive,

untrue, or misleading advertising that constitute acts of “unfair competition” prohibited in the

North Carolina UDTPA.

       64.     ABB engaged in unlawful acts and practices with respect to their services by

establishing inadequate security practices and procedures described herein; by soliciting and

collecting Plaintiffs’ and class members’ personal information with knowledge that such

information would not be adequately protected; and by gathering Plaintiffs’ and class members’

personal information in an unsecure electronic environment in violation of North Carolina’s data

breach statute, the Identity Theft Protection Act, N.C. Gen. Stat. § 75-60, et seq., which requires

ABB to undertake reasonable methods of safeguarding the personal information of Plaintiffs

Rickey Kimbriel, Paula Kimbriel and the class members.

       65.     In addition, ABB engaged in unlawful acts and practices when it failed to

discover and then disclose the data security breach to Plaintiffs and the class members in a timely

and accurate manner, contrary to the duties imposed by N.C. Gen. Stat. § 75-65.




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       66.     To date, ABB still has not provided sufficient information regarding the data

security breach to Plaintiffs and the class members.

       67.     As a direct and proximate result of ABB’s unlawful acts and practices, Plaintiffs

and the class members were injured and lost money or property, including but not limited to the

loss of their legally protected interests in the confidentiality and privacy of their personal

information.

       68.     ABB knew or should have known that their data security practices were

inadequate to safeguard Plaintiffs and the class members’ personal information, that the risk of a

data security breach was significant, and that their system was, in fact, breached.

       69.     ABB’s actions in engaging in the above-named unlawful practices were negligent,

knowing and willful, and/or wanton and reckless with respect to the rights of Plaintiffs and the

class members.

       70.       Plaintiffs and the class members seek relief under the North Carolina UDTPA

including, but not limited to: restitution to Plaintiffs and class members of money and property

that ABB has acquired by means of unlawful and unfair business practices; disgorgement of all

profits accruing to ABB because of its unlawful and unfair business practices; treble damages

(pursuant to N.C. Gen. Stat. § 75-16); declaratory relief; attorneys’ fees and costs (pursuant to

N.C. Gen. Stat. § 75-16.1); and injunctive or other equitable relief.

                      COUNT II – BREACH OF FIDUCIARY DUTIES
                          (On behalf of the Nationwide Class)

       71.     Plaintiffs, on behalf of the nationwide class, allege and incorporate by reference

the allegations in the preceding paragraphs.

       72.     ABB, by virtue of its possession, custody, and/or control of Plaintiffs and the

class members’ personal information, and ABB’s duty to properly monitor and safeguard said


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information, was, and continues to be, in a confidential, special, and/or fiduciary relationship

with Plaintiffs and the class members.

       73.     As a fiduciary, ABB owed, and continues to owe, Plaintiffs and the class

members:

       (a)     the commitment to deal fairly and honestly;

       (b)     the duties of good faith and undivided loyalty; and

       (c)      integrity of the strictest kind.

       74.     ABB was, and continues to be, obligated to exercise the highest degree of care in

carrying out the responsibilities to Plaintiffs and class members under such confidential, special,

and/or fiduciary relationships.

       75.     ABB breached its fiduciary duties to Plaintiffs and the class members when it

failed to adequately store, monitor, and protect Plaintiff Rickey and Paula Kimbriel’s and class

members’ personal information.

       76.     ABB willfully and wantonly breached its fiduciary duties to Plaintiffs and the

class members or, at the very least, committed these breaches with conscious indifference and

reckless disregard of Plaintiffs and the class members’ rights and interests.

                                   COUNT III – NEGLIGENCE
                                  (On behalf of Nationwide Class)

       77.     Plaintiffs, on behalf of the Nationwide Class, allege and incorporate by reference

the allegations in the preceding paragraphs.

       78.     ABB was, and continues to be, in a confidential, special, and/or fiduciary

relationship with Plaintiffs and the class members by virtue of being trusted with their personal

information.

       79.     Upon accepting and storing the personal information of Plaintiffs and the class


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members in its computer systems and on its networks, ABB undertook and owed a duty to

Plaintiffs and the class members to exercise reasonable care to secure and safeguard that

information and to use commercially reasonable methods to do so. ABB knew that the personal

information was private and confidential and should be protected as such.

          80.   At the very least, ABB assumed a duty, and had duties imposed upon it by

regulations, to comply with applicable security standards, regulations, and statutes, and to

otherwise use reasonable care to safeguard Plaintiffs and the class members’ personal

information. ABB owed a duty of care to Plaintiffs and the class members to safeguard their

personal information because Plaintiffs and the class members were foreseeable and probable

victims of any cyberattack that successfully stole or obtained personal information stored within

ABB’s data security systems.

          81.   ABB knew, or should have known, of the risks inherent in collecting and storing

personal information, the vulnerabilities of its data security systems, and the importance of

adequate security. ABB knew, or should have known, that its data systems and networks did not

adequately safeguard the personal information of Plaintiffs and the class members.

          82.   ABB’s own conduct also created a foreseeable risk of harm to Plaintiffs and the

class members and their personal information. Upon information and belief, ABB’s misconduct

included failing to: (1) secure its systems, despite knowing their vulnerabilities; (2) comply with

industry standard security practices; (3) implement adequate system and event monitoring; and

(4) implement the systems, policies, and procedures necessary to prevent this type of data

breach.

          83.   Through ABB’s acts and omissions described herein, including ABB’s failure to

provide adequate security and its failure to protect the personal information of Plaintiffs and the




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class members from being foreseeably accessed, captured, stolen, disseminated, and misused,

ABB unlawfully breached its duty to use reasonable care to adequately protect and secure the

personal information of Plaintiffs and the class members during the time it was in ABB’s

possession or control.

       84.        ABB also had a duty to timely inform Plaintiffs and the class members of the data

security breach, and of the fact that their personal information had been compromised and/or

stolen; furthermore, upon learning of the breach, ABB had a duty to take immediate action to

protect Plaintiffs and the class members from the foreseeable consequences of the breach.

       85.        By its acts and omissions as described herein, ABB unlawfully breached its duty

and Plaintiffs and the class members were harmed as a direct result.

       86.        ABB knew, or should have known, that its system for processing and storing class

members’ personal information was replete with security vulnerabilities.

       87.        ABB was negligent by continuing to accept, process, and store such information

in light of its computer system vulnerabilities and the sensitivity of the personal information

stored therein.

       88.        The data security breach, and resulting damages suffered by Plaintiffs and the

class members, were the direct and proximate result of a number of actions and omissions,

including but not limited to:

       (a)        ABB’s improper retention and storage of Plaintiffs and class members’ personal

       information;

       (b)        ABB’s failure to use reasonable care to implement and maintain appropriate

       security procedures reasonably designed to protect such information;

       (c)        ABB’s delay before notifying Plaintiff Rickey Kimbriel and class members about




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       the breach; and

       (d)     ABB’s failure to take immediate and effective action to protect Plaintiffs and

       class members from potential and foreseeable damage.

       89.     ABB’s wrongful actions, as described above, reflect a breach of the duty of

reasonable care and, therefore, constitute negligence.

       90.     Plaintiffs and the class members have not in any way contributed to the data

security breach or theft of their personal information.

                             COUNT IV – NEGLIGENCE PER SE
                              (On behalf of the Nationwide Class)

       91.     Plaintiffs, on behalf of the Nationwide Class, allege and incorporate by reference

the allegations in the preceding paragraphs.

       92.     Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

businesses, such as ABB, of failing to use reasonable measures to protect personal information.

The FTC has pursued numerous enforcement actions under Section 5 of the FTC Act against

businesses, which, as a result of their failure to employ reasonable data security measures and

avoid unfair and deceptive practices, caused the same harm as that suffered by Plaintiffs and

class members.

       93.     ABB violated Section 5 of the FTC Act by failing to use reasonable measures to

protect the personal information of Plaintiffs and the class members and not complying with

applicable industry standards, as described in detail herein. ABB’s conduct was particularly

unreasonable given the nature and amount of personal information it obtained and stored, and the

foreseeable consequences of a data breach at a corporation such as ABB, including, specifically,

the immense damages that would result to Plaintiffs and the class members.


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       94.        ABB’s violation of Section 5 of the FTC Act constitutes negligence per se.

       95.        Plaintiffs and the class members are within the class of persons that the FTC Act

was intended to protect.

       96.        The harm that occurred as a result of the data breach is the type of harm the FTC

Act was intended to guard against.

       97.        As a direct and proximate result of ABB’s negligence per se, Plaintiffs and class

members have suffered, and continue to suffer, injuries and damages arising from the data breach

as described herein.

                                    COUNT VI – BAILMENT
                                (On behalf of the Nationwide Class)

       98.        Plaintiffs, on behalf of the Nationwide Class, allege and incorporate by reference

the allegations in the preceding paragraphs.

       99.        Plaintiffs and the class members’ personal information is their property, which

they delivered to ABB for the sole and specifying purpose of completing one or more

commercial transactions.

       100.       ABB accepted Plaintiff Rickey Kimbriel, Paula Kimbriel and class members’

personal information and, thus, served as a bailee with respect to the above-referenced

transaction(s).

       101.       ABB, as a bailee, owed a duty to Plaintiffs and class members and, in fact, had an

express and/or implied contract with them to protect their personal information from theft,

compromise, or unauthorized disclosure.

       102.       ABB breached its duty and/or express and implied contracts with Plaintiffs and

class members by improperly storing and inadequately protecting their personal information

from theft, compromise, and/or unauthorized disclosure, which directly and proximately caused


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Plaintiff and class members to suffer damages.

       103.     ABB’s wrongful actions constitute breaches of their duty (and/or express and/or

implied contracts) with Plaintiffs and the class members arising from the bailment.

                           COUNT VII– BREACH OF CONTRACT
                             (On behalf of the Nationwide Class)

       104.     Plaintiffs incorporate by reference those paragraphs set out above as if fully set

forth herein.

       105.     ABB has a contractual obligation to maintain the security of its employees and

their family members’ PII, which ABB itself recognizes in its handbook.

       106.     ABB breached that contractual obligation by failing to safeguard and protect

the PII of Plaintiffs and members of the Class and by failing to provide timely and accurate

notice to them that their PII was compromised in and as a result of the ABB data breach.

       107.     The losses and damages sustained by Plaintiffs and Class members as described

herein were the direct and proximate result of ABB’s breaches of the contracts between ABB

and Plaintiffs and members of the Class.


                    COUNT VIII – BREACH OF IMPLIED CONTRACT
                          (On behalf of the Nationwide Class)


       108.     Plaintiffs, on behalf of the Nationwide Class, allege and incorporate by reference

the allegations in the preceding paragraphs.

       109.     Plaintiffs and Class members were required to provide their PII, including

names, addresses, Social Security numbers, and other personal information, to ABB as a

condition of their employment.

       110.     Implicit in the employment agreement between ABB and its employees was the




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obligation that both parties would maintain information confidentially and securely.

       111.    ABB had an implied duty of good faith to ensure that the PII of Plaintiffs and

Class members in its possession was only used to provide the Plan and other employment

benefits from ABB.

       112.    ABB had an implied duty to reasonably safeguard and protect the PII of

Plaintiffs and Class members from unauthorized disclosure or uses.

       113.    Additionally, ABB implicitly promised to retain this PII only under conditions

that kept such information secure and confidential.

       114.    Plaintiffs and Class members fully performed their obligations under the

implied contract with ABB. ABB did not.

       115.    Plaintiffs and Class members would not have provided their confidential PII to

ABB in the absence of their implied contracts with ABB, and would have instead retained the

opportunity to control their PII for uses other than the Plan and employment benefits from

ABB.

       116.    ABB breached the implied contracts with Plaintiffs and Class members by

failing to reasonably safeguard and protect Plaintiffs’ and Class members’ PII, which was

compromised as a result of the data breach.

       117.    ABB’s acts and omissions have materially affected the intended purpose of the

implied contacts requiring Plaintiffs and Class members to provide their PII as a condition of

employment in exchange for the Plan, compensation and benefits.

       118.    As a direct and proximate result of ABB’s breach of its implied contacts with

Plaintiffs and Class members, Plaintiffs and Class members have suffered and will suffer

injury, including but not limited to: (i) the loss of the opportunity how their PII is used; (ii) the




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compromise, publication, and/or theft of their PII; (iii) out-of-pocket expenses associated with

the prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use

of their PII; (iv) lost opportunity costs associated with effort expended and the loss of

productivity addressing and attempting to mitigate the actual and future consequences of the

data breach, including but not limited to efforts spent researching how to prevent, detect,

contest and recover from tax fraud and identity theft; (v) costs associated with placing freezes

on credit reports; (vi) the continued risk to their PII, which remain in ABB’s possession and is

subject to further unauthorized disclosures so long as ABB fails to undertake appropriate and

adequate measures to protect the PII of employees and former employees in its continued

possession; and, (vii) future costs in terms of time, effort and money that will be expended to

prevent, detect, contest, and repair the impact of the PII compromised as a result of the data

breach for the remainder of the lives of Plaintiffs and Class members.

                                       PRAYER FOR RELIEF

          As a direct and proximate cause of ABB’s wrongful conduct, Plaintiffs and the class

members sustained, and will continue to incur, damages in the form of:

          a) the unauthorized disclosure and/or compromise of their personal information;

       b) monetary losses and damage to credit from fraudulent charges made upon their
accounts; and

          c) the burden and expense of credit monitoring.

          Accordingly, Plaintiffs, individually and on behalf of the class, requests relief as follows:

          a) certification of the Nationwide Class pursuant to Fed. R. Civ. P. 23, as requested
herein;

       b) appointment of Plaintiffs Rickey and Paula Kimbriel as class representatives, and the
undersigned counsel as class counsel;

       c) an order directing that reasonable notice of this action, as provided by Fed. R. Civ. P.
23(c)(2), be given to each and every class member;


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        d) equitable relief to prevent any additional harm including, but not limited to, provision
of credit monitoring services for a period of time to be determined by a trier of fact;

       e) an injunction permanently enjoining ABB, as well as its subsidiaries and affiliates
from further engaging in the same acts or omissions that led to the data security breach
described above;

           f) a judgment in favor of Plaintiffs and class members under the legal theories alleged
herein;

      g) an award to the Plaintiffs and class members of nominal damages, compensatory
damages, and/or punitive damages, to the extent allowed by law;

           h) an award to the Plaintiffs and class members of restitution and/or disgorgement of
profits;

       i) an award of pre- and post-judgment interest as provided by law, and that such interest
be awarded at the highest legal rate from and after the date of service of this complaint;

           j) an award of reasonable attorneys’ fees, costs, and expenses; and

           k) granting such other relief as the court deems just and proper.

                                    DEMAND FOR JURY TRIAL

           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, the Plaintiffs and the

class demand a trial by jury.

Dated: May 22, 2019

                                                         Respectfully submitted,

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